     Case 3:10-cr-00085-JRS Document 23 Filed 06/16/10 Page 1 of 1 PageID# 74




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION


UNITED STATES OF AMERICA

v.                                                           CASE NO. 3:10CR85

CHAVELLA JONES,

                       Defendant


                                             ORDER

         This matter is before the court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge’s acceptance of the Defendant’s plea of guilty

to specified charges in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding

conducted by the Magistrate Judge with the consent of the Defendant and counsel. It appearing

that the Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant

was given notice of the right to file specific objections to the report and recommendation that has

been submitted as a result of the proceeding; and it further appearing that no objection has been

asserted within the prescribed time period, it is hereby

         ORDERED that the report and recommendation of the Magistrate Judge is ADOPTED

and the Defendant is found guilty of Counts One, Two an Fifteen of the Indictment.




                                                                /s/
                                          James R. Spencer
                                          Chief United States District Judge
Dated:    6/15/10
